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EXHIBIT 7

 
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3
IN THE UNITED STATES DISTRICT COURT 1 INDEX
FOR THE DISTRICT OF MASSACHUSETTS 2 WITNESS: STEWART STOWERS
IN RE: NEURONTIN MARKETING, SALES } 3 INDEX OF EXAMINATIONS
PRACTICES AND PRODUCTS LIABILITY } 4 Page/Line
LITIGATION } 6 ByMr. Evans woe 5D
} GB BY MY SON cee 52 2
) 7 INGEX OF EXHIBITS
) 8 Page/Line
) 9 No. 1 Late Filed oe 8S
) CASE NO. TO NO. 2 occ 9 G
)04-10981 "
12
THIS DOCUMENT RELATES TO: ) 3
1
} 14
RUTH SMITH, Individually and as ) 45
Widow for the use and benefit of ) 16
herself and the next of kinof ) 47
Richard Smith, deceased. } 18
) 19
05-GV-11515 ) 20
) 74
VIDEOTAPED DEPOSITION OF 22
STEWART STOWERS, M.D. 23
Taken on Behalf of the Defendant 24
June 28, 2007 25
4
1 APPEARANCES: 1
2 For the Plaintiff: 2 The videotaped deposition of
3 KENNETH S. SOH
Lanier Law Firm 3. STEWART STOWERS, M_D., taken on behalf of the
4 6810 F.M. 1960 West 4 Defendant, on the 28th day of June, 2007, ia the
Houston, Texas 77069 5 offices of Tennessee Orthopedic Alliance, 301 21st
5 713.659.5200 .
713.659.6416 6 Avenue North, Nashville, Tennessee, for all
6 wml@lanierlawfirm.com 7 purposes under the Federal Rules of Civil
kss@lanierlawfirm.com 8 Procedure.
7
& For the Defendant: 9 The formalities as to notice,
9 CEDRIC E. EVANS 10 caption, certificate, et cetera, are waived. All
Clark, Thomas & Winters 11 objections, except as tc the form of the
10 P.O, Box 1148 12 . d to the hear
Austin, Texas 78767 questions, are reserved to the hearing.
41 612.472.8800 13 It is agreed that Elisabeth A.
512.474.1129 14 Miller, being a Notary Public and Court Reporter
12 Kii@etw.com 15 for the State of Tennessee, may swear the witness,
cee@ctw.com
13 16 — and that the reading and signing of the completed
14 Also Prosent: Jason Powers, Videographer 17 deposition by the witness are waived.
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53 55
1 that was an orthopedic surgeon that | at least 1 whenever you would visit with him on that as well?
2 knew roughly -- somewhat about, so we always had a 2 A. That's correct.
3 fairly nice visit inside -- | remember him better 3. Q. Would you consider those surgeries alla
4 than most patients, plus | saw him many times over 4 success?
5 many years,so... 5 A. think so. | mean, he had obviously some
6 @Q. Did you know that he was a retired 6 chronic discomfort in that left knee. But | --
7 minister? 7 he -- he had full motion, would walk in here
8 A. You know, | did not notice that. 8 ~~ without any assistive devices and | think lived a
9 Q. You did not notice that? Okay. That was 9 pretty narmat life.
10 in Dr. Regen’s notes. | just wanted to —~- 16 @. Mostof your patients that have a knee
11. A. Yeah. 11. replacement or hip replacement -- most of your
12 @, ~~ --share that. 42 patients that have a knee replacement or a hip
43 Did you also -- did you know that he 13° replacement are in chronic pain prior to the
14° enjoyed cutting his lawn, mowing his jawn like a 14 surgery?
15 lot of retirees do? 15 A. Yes, you wouldn't do either of those
16 A. No, 1} didn't. 16 operations if they were not. That's correct.
1? @. Did you see that on Dr. Regen's notes? 17  Q. And the —these -- the two knee
18 =A. No. 18 replacements and the hip raplacement that
19 ©. Okay. Would that surprise you, he's a 19 Richard Smith went through helped relief --
20 retired minister, he enjoyed cutting his lawn? 20 relieve him from this chronic pain?
21 A Nea. 21 A. Yes.
-22 Q. You replaced tis knee in 19937 22 @. ~~ Allright. | believe you characterized
23 =A. Correct. 23 ~~“ Richard Smith as a fairly healthy guy for his knee
24 @. = You followed -- most of your visits over 24 ~~ replacement in his late 60s in 1993?
25 ~~ that 12-, 13-year period dealt with that knee 25 A. You know, | don't really remember that.
54 56
4 operation that you did? 1 Again, subjectively | would say yes. | can look
2 A. That knee and his arthritic ankle, the hip 2 back at my -- at my hospital records where | would
3 bursitis is a common thing for people with knee 3. have outlined his ongoing medical problems, but -
4 arthritis to have also. 4 but think he had some — some prostate issues
5 So all these things are pretty much 5 — and things like that.
6 related or -- or all these things are not an 6 But for the most part, | think he was a
7 uncommon scenario for someone who's 68 or in their - 7 pretty healthy G8-year-old.
8 7Gs to have. And like | said, rotator cuff 8 @. Your prior testimony -- that was -- those
9 disease is so incredibly common. That — that was § so were your words you Used prior in this deposition
10 not bizarre for him te have that probiem either. 10 = that you thought he was a relatively - a fairy
11. Qs I'm just going to go through these 11. healthy guy at his knee replacement in 1993; is
12° questions really quickly, and then we can wrap 12 ‘that correct?
13 things up fast. 13. A. That's correct.
14 You replaced his knee in 1993 and followed 14. G. — I’mjust going to let you know,
15 up with him for a couple years, correct? 45 Richard Smith died on May 4 of 2004 — I'm sorry,
16 A Yes, 46 May 13, 2004. Okay?
17 @. Your partner replaced his other knee in 47) AL Uh-huh.
18 1996, and you sort of followed up on'that as well, 18 Q. Your last visit to him -- he last saw you
19 correct? 18 on July 19, 2002. You don't need to look at your
20) =A. Ultimately | did follow him for both, 20 chart.
21 ‘that's correct. 21 AL Okay.
22 @. Okay. And then your partner also replaced 22 Q, — Just from rough math, that's -- you saw
23 ~~—shis hip in 1998, correct? 23 ~=him about 21 months before he passed away.
24. A. Carrect. 24 AL Okay.
25 ©. And you sort of fallawed up with him 25 @. ~~ Allright. Goes that sound about right?

 

 

 

 

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